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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X Docket #9:18-cv-1066
FREDERICK SMITH,

                            Plaintiff,                                          AMENDED
                                                                                COMPLAINT
         -against-
                                                                                PLAINTIFF DEMANDS
C.O. STEVEN DODGE, C.O. JASON ASHLINE,                                          TRIAL BY JURY
C.O. PETER McNALLY and SERGEANT WILLIAM
MURRAY,

                             Defendants.
-----------------------------------------------------------------------X

        PLAINTIFF FREDERICK SMITH, by his attorneys ASHER & ASSOCIATES, P.C., for

his COMPLAINT, alleges upon information and belief, as follows:

                                     I. PRELIMINARY STATEMENT

1.      This is a civil rights action in which PLAINTIFF FREDERICK SMITH (hereinafter

        “PLAINTIFF”) seeks damages to redress the deprivation, under color of state law, of rights

        secured to him under the Eighth Amendment of the United States Constitution. On

        September 9, 2015, at approximately 7:35 P.M., as he was going through the metal detector

        in the mess hall foyer area on his way to the yard of the Great Meadow Correctional

        Facility, Comstock, New York, PLAINTIFF was subjected to cruel and unusual

        punishment by Defendants, Correction Officers DODGE, ASHLINE, McNALLY and

        Sergeant MURRAY. It is alleged that each of these Defendants subjected PLAINTIFF to

        cruel and unusual punishment in violation of his constitutional rights. It is further alleged

        that each of these Defendants failed to intervene to prevent the actions of the others in

        violation of his constitutional rights. As a result of the cruel and unusual punishment used

        by each of these Defendants and the failure of each of these Defendants to intervene to

        prevent the cruel and unusual punishment, PLAINTIFF suffered physical and mental
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       injuries including two (2) black eyes, multiple abrasions about his face and body and a

       collapsed lung.

                                            II. JURISDICTION

2.     Jurisdiction is conferred upon this Court by 28 U.S.C. § 1343(3) and (4), which provides

       for original jurisdiction in this court of all suits brought pursuant to 42 U.S.C. §1983, and

       by 28 U.S.C. §1331, which provides jurisdiction over all cases brought pursuant to the

       Constitution and laws of the United States.

                                               III. PARTIES

3.     FREDERICK SMITH at all times relevant hereto resided at 190 Clinton Street,

       Poughkeepsie, NY 12601

4.     Defendant C.O. STEVEN DODGE (hereinafter “DODGE”) was a corrections officer,

       and at all times relevant hereto, acted in that capacity as agent, servant, and/or employee

       of The New York State Department of Corrections and Community Supervision and

       within the scope of his employment.

5.     Defendant C.O. JASON ASHLINE (hereinafter “ASHLINE”) was a corrections officer,

       and at all times relevant hereto, acted in that capacity as agent, servant, and/or employee

       of The New York State Department of Corrections and Community Supervision and

       within the scope of his employment.

6.     Defendant C.O. PETER McNALLY (hereinafter “McNALLY”) was a corrections

       officer, and at all times relevant hereto, acted in that capacity as agent, servant, and/or

       employee of The New York State Department of Corrections and Community

       Supervision and within the scope of his employment.




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7.      Defendant SERGEANT WILLIAM MURRAY (hereinafter “MURRAY”) was a

        corrections officer, and at all times relevant hereto, acted in that capacity as agent,

        servant, and/or employee of The New York State Department of Corrections and

        Community Supervision and within the scope of his employment.

8.      At all relevant times hereto, Defendants were acting under the color of state and local

        law. Defendants are sued in their individual and official capacities.

                                             IV. FACTS

9.      During all times herein, PLAINTIFF was an inmate at Great Meadow Correctional

        Facility, Comstock, New York.

10.     On September 9, 2015, at approximately 7:35 P.M., PLAINTIFF was stopped and frisked

        at the metal detector in the mess hall foyer as he was attempting to exit to the yard of the

        Great Meadow Correctional Facility by defendants DODGE, ASHLINE, McNALLY and

        MURRAY.

11.     On September 9, 2015, at approximately 7:35 P.M., PLAINTIFF was kicked, punched

        and stomped about the face, ribs and stomach by defendants DODGE, ASHLINE,

        McNALLY and MURRAY.

12.     On September 9, 2015, at approximately 7:35 P.M., PLAINTIFF’s feet, arms, shoulders,

        hands and fingers were twisted by defendants DODGE, ASHLINE, McNALLY and

        MURRAY.

13.     After the initial assault by defendants, PLAINTIFF was then handcuffed and defendants

        DODGE, ASHLINE, McNALLY and MURRAY continued to kick, punch and stomp the

        PLAINTIFF about the face and body while he was restrained.




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14.     As a result, PLAINTIFF sustained two black eyes, multiple abrasions and lacerations on

        his face and a collapsed lung.

15.     PLAINTIFF was treated at both Albany Medical Center and Glens Falls Hospital for the

        injuries sustained.

16.     On September 9, 2015, none of the aforementioned defendants intervened to prevent the

        actions of the others.

17.     On or about September 22, 2015, PLAINTIFF filed a grievance with the Inmate

        Grievance Resolution Committee (IGRC) and thereafter exhausted all administrative

        remedies as required under the Inmate Grievance Program ("IGP").

                                V. FIRST CAUSE OF ACTION
                 Pursuant to §1983 (CRUEL AND UNUSUAL PUNISHMENT)

18.     Paragraphs 1 through 17 are hereby realleged and incorporated by reference herein.

19.     By reason of the above factual allegation, Ds intentionally violated PLAINTIFF’s Eighth

        Amendment Right to be free from cruel and unusual punishment.

20.     That PLAINTIFF did not pose a threat to the safety of the corrections officers.

21.     That PLAINTIFF was not actively resisting.

22.     That Defendants’ actions were grossly disproportionate to the need for action and were

        unreasonable under the circumstances.

23.     That by reason of Defendants acts and omissions, acting under color of state law and

        within the scope of their authority, in gross and wanton disregard of PLAINTIFF’s rights,

        subjected PLAINTIFF to cruel and unusual punishment while in custody, in violation of

        his rights pursuant to the Eighth Amendment of the United States Constitution.




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24.     By reason of the foregoing, PLAINTIFF suffered physical injuries, mental injuries,

        emotional injuries, trauma, terror, and other psychological injuries. These injuries

        include two black eyes, multiple abrasions and lacerations on his face and a collapsed

        lung.

25.     All of said injuries may be permanent.

                               VI. SECOND CAUSE OF ACTION
                         Pursuant to §1983 (FAILURE TO INTERVENE)

26.     Paragraphs 1 through 25 are hereby realleged and incorporated by reference herein.

27.     That Defendants failed to intervene when Defendants knew or should have known that

        PLAINTIFF’s constitutional rights were being violated.

28.     That Defendants had a realistic opportunity to intervene on behalf of PLAINTIFF, whose

        constitutional rights were being violated in their presence.

29.     That a reasonable person in the Defendants’ position would know that PLAINTIFF’s

        constitutional rights were being violated.

30.     That by reason of Defendants’ acts and omissions, Defendants, acting under the color of

        state law and within the scope of their authority, in gross and wanton disregard of

        PLAINTIFF’s rights, deprived PLAINTIFF of his liberty when they failed to intervene to

        protect him from Defendants’ use of cruel and unusual punishment, in violation of

        PLAINTIFF’s rights pursuant to the Eighth Amendment of the United States

        Constitution.

31.     That upon information and belief, Defendants had a policy and /or custom of failing to

        intervene to protect citizens from excessive force by corrections officers. Thus, as a result




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        of the above described policies and customs, PLAINTIFF was not protected from

        Defendants’ unconstitutional actions.

32.     That by reason of the foregoing, PLAINTIFF suffered physical and psychological

        injuries, traumatic stress, mental anguish, economic damages including attorney’s fees.

        These injuries include two black eyes, multiple abrasions and lacerations on his face and

        a collapsed lung.

33.     All of said injuries may be permanent.

                                     VII. INJURY AND DAMAGES

34.     As a result of the acts and conduct complained of herein, PLAINTIFF has suffered and

        will continue to suffer, physical pain, emotional pain, suffering, permanent disability,

        inconvenience, loss of liberty and other non-pecuniary losses. PLAINTIFF has further

        experienced severe emotional and physical distress. The physical injuries include two

        black eyes, multiple abrasions and lacerations on his face and a collapsed lung.

35.     All of said injuries may be permanent.

               WHEREFORE, PLAINTIFF respectfully requests that judgment be entered:

        1.     Awarding PLAINTIFF compensatory damages in a full and fair sum to be

               determined by a jury;

        2.     Awarding PLAINTIFF punitive damages in an amount to be determined by a jury;

        3.     Awarding PLAINTIFF interest from September 9, 2015;

        4.     Awarding PLAINTIFF reasonable attorney’s fees pursuant to 42 USC §1988; and

        5.     Granting such other and further relief as to this Court seems proper.

Dated: New York, New York
     December 28, 2018



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